                             Hearing Date and Time: November 3, 2022 at 10:00 a.m. (prevailing Eastern Time)


Ilan D. Scharf, Esq.
Jason S. Pomerantz, Esq.
Judith Elkin, Esq.
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
ischarf@pszjlaw.com
jspomerantz@pszjlaw.com
jelkin@pszjlaw.com

Counsel to the RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :             Chapter 11
                                                               :
ROCHESTER DRUG                                                 :             Case No. 20-20230 (PRW)
                                1
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                OBJECTION TO CLAIM 282 ASSERTED BY SHAREHOLDER
                             KLEIN PHARMACY, INC.

        RDC Liquidating Trust, through its trustee Advisory Trust Group, LLC (the “Liquidating

Trustee”), the successor-in-interest to Rochester Drug Co-Operative, Inc. (the “Debtor” or

“RDC”) files its Objection to Claim 282 Asserted by Shareholder Klein Pharmacy, Inc. (the

“Objection”). In support of the Objection, the Liquidating Trustee respectfully states as follows:




1
 On February 26, 2021, the Bankruptcy Court entered an order confirming the Second Amended Chapter 11 Plan of
Liquidation (the “Plan”) of Rochester Drug Co-operative, Inc. (“RDC”) which (along with that certain Liquidating
Trust Agreement and Declaration of Trust) established the RDC Liquidating Trust and empowered it to collect and
administer RDC’s Assets and resolve Claims against RDC.


DOCS_DE:240640.3 75015/003
    Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                     Description: Main Document , Page 1 of 18
                                      PRELIMINARY STATEMENT

                 1.          Prior to its liquidation under chapter 11 of the United States Bankruptcy

Code (the “Bankruptcy Code”), RDC was a New York cooperative corporation owned by

approximately 307 stockholding pharmacists and pharmacies (the “Shareholder Pharmacies”).

RDC sold pharmaceutical products to many (if not all) of its Shareholder Pharmacies. As of the

Petition Date, many Shareholder Pharmacies had accounts receivable owing to RDC

(collectively, the “Shareholder Receivables”), which were in default.

                 2.          For many years, RDC distributed profits to the Shareholder Pharmacies, if

available and at the discretion of the Board of Directors, in the form of a patronage dividend

(“Patronage Dividends”). Each Shareholder Pharmacy was required to make minimum yearly

purchases from RDC to remain in good standing, and Patronage Dividends were distributed

based on each shareholder’s total sales volume.

                 3.          RDC’s board of directors last declared a Patronage Dividend

(approximately $22.1 million) for the fiscal year ending March 31, 2017, which was paid in June

of 2017 (the “2017 Patronage Dividend”). As is detailed below, the Liquidating Trustee has filed

suit against the Debtor’s Board of Directors in connection with the 2017 Patronage Dividend.

                 4.          Shareholder Pharmacies filed thirty-two proofs of claim against RDC (the

“Shareholder Claimants”) pursuant to which they assert claims for (a) undeclared Patronage

Dividends (the “Dividend Claims”), (b) the value of their stock (the “Stock Claims”), and/or

(c) breach of fiduciary duty or other corporate malfeasance (the “Bad Faith Claims”). (The

Dividend Claims, the Stock Claims and the Bad Faith Claims are collectively, the “Shareholder

Claims”).2 As is detailed below, this Objection addresses all three types of Shareholder Claims.


2
 Approximately 18 of the Shareholder Claims include a combination of Stock Claims, Dividend Claims and/or Bad
Faith Claims; 9 assert only Stock Claims; 2 assert only Dividend Claims; 3 are amended or duplicate claims.

                                                      2
DOCS_DE:240640.3 75015/003
    Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                     Description: Main Document , Page 2 of 18
                 5.          Klein Pharmacy, Inc. (“Claimant”) is a shareholder in the Debtor.

According to the Debtor’s books and records, Claimant owns two shares of common stock in

RDC (the “RDC Stock”),3 one of which it acquired on or about November 19, 2010 for $26,500

pursuant to that certain Subscription Agreement Under Confidential Summary Offering Statement

Dated September 21, 2010 (the “Subscription Agreement”).4

                 6.          Claimant has represented that it has (or had) an interest in two retail

pharmacies that did business with the Debtor: (i) one located at 123 Fifth Avenue, Pelham, NY

(operated under the name of Klein Pharmacy) and (ii) one located at 7035 Parsons Blvd,

Flushing NY operated under the name of Jewel Pharmacy RX) that purchased inventory (the

“Goods”) from the Debtor pre-petition (the “Pharmacies”). 5 The Debtor extended credit to

Claimant to finance the sale of the Goods (the “RDC Obligations”), which were personally

guaranteed by Nadeem Kausar (“Kausar”).

                 7.          Prior to the Petition Date, Claimant defaulted on the RDC Obligations by

failing to pay for the Goods when and as due. Accordingly, on or about June 2, 2020, the

Liquidating Trustee filed a Verified Complaint against Claimant and Kausar and, in the Supreme

Court of the State of New York County of Westchester (the “State Court”) (Index No.

55664/2020) (the “Collection Action”).6 The Collection Action was ultimately settled and on

July 15, 2022, case was dismissed as to all defendants with prejudice. The settlement did not,

however, address or otherwise resolve the Claim.



3
  Ownership is according to the Debtor’s List of Equity Security Holders [Doc. No. 105-1].
4
  The Subscription Agreement is attached to the Greenblatt Declaration as Exhibit 1. A copy of the Confidential
Summary Offering Statement Dated September 21, 2010 (the “Offering Statement”) is attached to the Greenblatt
Declaration as Exhibit 2. It is not clear from the Debtor’s books & records when Claimant acquired its second share
of common stock.
5
  The Liquidating Trustee is informed and believes that Jewel Pharmacy RX is or was owned and operated by Jewel
of Flushing Rx Inc. (“Jewel, Inc.”) in which Kausar also has an interest.
6
  The Collection Action was also filed against Jewel of Flushing Rx Inc. and Syed J. Rizvi.

                                                         3
DOCS_DE:240640.3 75015/003
    Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                     Description: Main Document , Page 3 of 18
                  8.         On or about July 30, 2020, Claimant filed a proof of claim (docketed as

claim 282) in the amount of $95,106.13 (the “Claim”). 7 A copy of the Claim is attached as

Exhibit A. Claimant asserts that the basis of the Claim is “unpaid patronage dividends as part of

the product sales program.” In addition, Claimant notes:

                  The Claim of Klein Pharmacy, Inc. ("Claimant") is based on
                  unpaid patronage dividends which became due as part of the
                  product sales program of the debtor Rochester Drug Co-Operative,
                  Inc. ("Debtor"). The amount of Claimant's claim against the Debtor
                  is approximately $95,106.13. Additionally, the Debtor has filed
                  suit against the Claimant which is currently pending in the
                  Supreme Court of the State of New York, County of Westchester,
                  under Index No.: 55664/2020 (the "Action"). The amount of this
                  claim is estimated only and is subject to further investigation.
                  Accordingly, Claimant reserves its right to file an Amended Proof
                  of Claim and/or attach or bring forth additional documents
                  supporting its claim and additional documents setting forth the
                  amount and classification of its claim, including but not limited to,
                  pre-petition, attorneys' fees, potential indemnity obligations,
                  amounts subject to rights of setoff and any other additional
                  amounts due from the Debtor.

See Addendum to Claim at 4. Claimant also attaches to its Claim (i) A Confidential Summary

Offering Statement dated May 23, 2016 (Id. at 5) and (ii) a press release from the Department of

Justice dated April 2, 2020 entitled, “Manhattan U.S. Attorney Announces Settlement of

Fraudulent Billing and Kickback Lawsuit against Compounding Pharmacies and Owners.” (Id. at

35).

                  9.         While it clear that the Claim asserts a Dividend Claim, it appears from the

addendum and the attachments that Claimant is reserving its rights to assert, among other things,

a Bad Faith Claim and a Stock Claim.8 Accordingly, by this Objection, the Liquidating Trustee



7
  Jewel Inc. filed an almost identical Proof of Claim (docketed as Claim 283) for $548,205.46 for “unpaid patronage
dividends” that includes the identical attachments. The Liquidating Trustee reserves his right to object to Claim 283
and intends to do so via a separate objection
8
  To the extent that the Claim asserts any other grounds or basis not addressed in this Objection, the Liquidating
Trustee reserves the right to address those grounds or basis on reply.

                                                          4
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 4 of 18
asks that the Court: (1) disallow any portion of the Claim that is a Dividend Claim on the

grounds that the Debtor’s Board of Directors exercised its discretion when it did not declare

Patronage Dividends for years after the fiscal year ending March 31, 2017; therefore, any claims

for Patronage Dividends are unenforceable against the Debtor or its property pursuant to 11

U.S.C. § 502(b)(1); (2) reclassify any portion of the Claim that is a Stock Claim as a Class 3

Interest pursuant to the terms of the Debtor’s confirmed Plan; and (3) disallow any portion of the

Claim that is a Bad Faith Claim, which claims belong to the estate pursuant to Bankruptcy Code

section 541, which the Liquidating Trustee has the sole authority to pursue (and is pursuing) for

the benefit of all of the Class 2 Unsecured Creditors. Finally, to the extent that the Court finds

that any portion of the Claim is Allowed as a Class 2 Unsecured Claim, the Liquidating Trustee

asks that it be subordinated to the Allowed Claims of all other Class 2 Unsecured Creditors

pursuant to Bankruptcy Code section 510(b).

                                  STATUTORY BASIS FOR OBJECTION

                    10.      The Objection is brought pursuant to sections 502(b) and 510(b) of title 11

of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), and Rule 3007 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and it is supported by

Declaration of David Greenblatt (the “Greenblatt Declaration”).9

                                                 JURISDICTION

                    11.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and the

Standing Order of Reference from the United States District Court for the Western District of

New York, dated February 29, 2012. The Liquidating Trustee confirms its consent, pursuant to



9
    A Proposed Order is attached as Exhibit B. The Greenblatt Declaration is attached as Exhibit C.

                                                           5
DOCS_DE:240640.3 75015/003
     Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                      Description: Main Document , Page 5 of 18
Bankruptcy Rule 7008, to the entry of a final order by the Court in connection with this Objection

to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments in connection herewith consistent with Article III of the United States

Constitution.

                 12.         Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                        GENERAL BACKGROUND

                 13.         On March 12, 2020 (the “Petition Date”), the Debtor filed a petition under

chapter 11 the Bankruptcy Code in the United States Bankruptcy Court for the Western District

of New York (the “Bankruptcy Court”).

                 14.         On March 27, 2020, the Debtor filed its schedules of assets and liabilities

(the “Schedules”) [Docket No. 105] pursuant to Bankruptcy Rule 1007 and the Ex Parte Order

Pursuant to Bankruptcy Rules 1007(c) and 9006(b)(1) Extending the Time to File Schedules of

Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules of Executory

Contracts and Unexpired Leases and Statements of Financial Affairs [Docket No. 28].

                 15.         On June 15, 2020, the Bankruptcy Court entered an order [Docket No.

401] (the “Bar Date Order”) which, among other things, fixed July 31, 2020 as the date by which

any person or entity holding (a) a Claim against the Debtor that arose or is deemed to have arisen

prior to the Petition Date (the “General Bar Date”), or (b) an administrative expense claim

against the Debtor that arose under section 503(b)(9) of the Bankruptcy Code (the “503(b)(9) Bar

Date”) must file a written proof of claim (a “Proof of Claim”) asserting such claim against the

Debtor. The Debtor (or its agents) served the Bar Date Order, notice of the bar dates and a Proof




                                                       6
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 6 of 18
of Claim form (collectively, the “Bar Date Notice Package”) in accordance with the Bar Date

Order. See Certificate of Service [Docket No. 431].10

                 16.         On February 26, 2021, the Bankruptcy Court entered an order (the

“Confirmation Order”) confirming RDC’s Second Amended Chapter 11 Plan of Liquidation (the

“Plan”). Pursuant to the Confirmation Order, the Plan of Liquidation and that certain Liquidating

Trust Agreement and Declaration of Trust (the “Trust Agreement”) (collectively, the “Plan

Documents”), RDC’s Assets were transferred to the RDC Liquidating Trust which was

empowered, among other things, to: (i) collect and administer the Debtor’s Assets (including

Causes of Action) and (ii) resolve Claims against the Debtor and its estate.11

                 17.         The Effective Date (as defined in the Plan) of the Plan occurred on

March 19, 2021. As of the Effective Date, the Liquidating Trustee was appointed to act as trustee

of the RDC Liquidating Trust. Pursuant to the Plan, among other things: (i) the Bankruptcy

Court retained jurisdiction, “[t]o hear and determine objections to the allowance of Claims,

whether filed, asserted or made before or after the Effective Date, including, without limitation,

to hear and determine objections to the classification of Claims and the allowance or

disallowance of disputed Claims, in whole or in part;” and (ii) the Liquidating Trustee “may

object to Claims at any time prior to the dissolution of the [RDC] Liquidating Trust.” Plan,

§ 10.13(d); § 8.14.

                 .




10
   On December 18, 2020, the Debtor amended certain of its Schedules (the Amended Schedules”) and claimants
whose Claims were affected by the amendment were allowed to file Proofs of Claim until January 31, 2021 [Docket
Nos. 1014, 1016].
11
   The bankruptcy case docket numbers for the applicable documents are as follows: Confirmation Order (Dkt. No.
1257); Plan of Liquidation (Dkt. No. 1145); Notice of Effective Date (Dkt No. 1305). If not defined herein,
capitalized terms have the definitions given to them in the Plan Documents.


                                                       7
DOCS_DE:240640.3 75015/003
     Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                      Description: Main Document , Page 7 of 18
                                            LEGAL ARGUMENT

                 18.         As was noted above, pursuant to the Claim, Claimant assert that RDC

owes it $95,106.13 for alleged unpaid Patronage Dividends, and it has reserved its rights to assert

other grounds which may include, inter alia, a Stock Claim and/or a Bad Faith Claim. Each

component of the Claim is addressed below.

A.      Applicable Standard.

                 19.         A filed proof of claim is deemed allowed unless a party-in-interest objects.

11 U.S.C. § 502(a). Correctly filed proof of claims constitute prima facie evidence of the validity

and amount of the claim. In re Residential Capital, LLC, 524 B.R. 465, 477 (Bankr. S.D.N.Y.

2015); Fed. R. Bank. P. 3001(f).

                 20.         If an objection refuting at least one of the claim's essential allegations is

asserted, the claimant has the burden to demonstrate the validity of the claim. In re Ditech

Holding Corp., 2021 Bankr. LEXIS 1299, *10 (Bankr. S.D.N.Y. May 13, 2021). If there is an

objection to a claim, the bankruptcy court, after notice and a hearing, shall determine the amount

of such claim as of the date of the filing of the petition, and shall allow such claim in such

amount, subject to certain exceptions identified in the statute. 11 U.S.C. § 502(b). One such

exception is that the court shall not allow a claim if “such claim is unenforceable against the

debtor and property of the debtor, under any agreement or applicable law for a reason other than

because such claim is contingent or unmatured.” 11 U.S.C. § 502(b)(1).

B.      The Dividend Claim should be disallowed in full.

                 21.         Any portion of the Claim that is a Dividend Claim should be disallowed in

full because no Patronage Dividends are owing to Claimant.




                                                        8
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 8 of 18
                 22.         Pre-petition, Shareholders were eligible to receive annual Patronage

Dividends at the discretion of RDC’s Board of Directors (“BOD”). More specifically, pursuant

to the “Dividend Policy” set forth in the Offering Statement:

        The patronage dividend is calculated annually based upon the Company’s earnings
        during the most recently concluded fiscal year. Once the aggregate amount of the
        patronage dividend pool has been established, it is allocated to the Company’s
        shareholders based upon their purchases. The Company had insufficient earnings
        from which to pay dividends in a number of years prior to 1986, but has paid a
        patronage dividend in each year since 1986. . . .Shareholders are eligible to receive
        distributions when, as and if declared by the Board of Directors of the Company,
        in amounts related to the shareholder’s purchases of pharmaceutical and other
        products from the Company and payments to the Company for other services.
        These distributions, known as “patronage dividends”, totaled $5,200,000 for the
        fiscal year ended March 31, 2010, with no single shareholder receiving more than
        $435,088 for such fiscal year. . . . There can be no assurance that funds will be
        available to pay patronage dividends in any year.

Offering Statement at 11-12 (emphasis added).

                 23.         The Offering Statement makes clear that the investment, including the

payment of Patronage Dividends is (a) up to the discretion of the Debtor’s BOD and (b) risky. It

provides:

        THERE ARE SIGNIFICANT RISKS ASSOCIATED WITH AN
        INVESTMENT IN THE VOTING COMMON STOCK. AN INVESTMENT
        IN THE SECURITIES OFFERED HEREBY IS SUITABLE ONLY BY
        PERSONS WHO CAN AFFORD THE LOSS OF THEIR ENTIRE
        INVESTMENT. PROSPECTIVE INVESTORS SHOULD CAREFULLY
        CONSIDER, AMONG OTHER THINGS, THE FOLLOWING RISK
        FACTORS:
        ...
        Patronage Dividends Uncertain. As a cooperative corporation, the Company
        may, at the discretion of the Board of Directors, pay pro-rata patronage dividends
        to its shareholders based on their purchases from the Company during a given
        period. A prospective investor is unlikely to receive significant return on his
        investment unless such investor conducts substantial business with the Company.
        In addition, if the Company’s retained earnings in any year are not sufficient to
        establish adequate reserves, the Board of Directors may determine not to pay any
        patronage dividends. Patronage dividends have been paid annually since 1986, but
        were not paid for a number of years before that time. There can be no assurance



                                                      9
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 9 of 18
         that patronage dividends will be paid at any time in the future or, if paid, will be at
         levels similar to those previously paid.

Offering Statement at 3-4 (emphasis added).

                 24.         The Subscription Agreement executed by the Claimant echoes both the

risky nature of the investment:

         The undersigned acknowledges that: (a) he has read the Offering Documents and
         has evaluated the risks of investing in the Shares; (b) he is able to bear the economic
         risk of such investment; and (c) the Shares have not been and will not be registered
         under the Securities Act of 1933, as amended (the “1933 Act”).

Subscription Agreement ¶ 3.

                 25.         Accordingly, RDC was not required to pay Patronage Dividends.

Patronage Dividends were authorized by the BOD and at its discretion.

                 26.         The Liquidating Trustee is informed and believes that the Claimant has

been paid in full for any Patronage Dividends that were declared by the BOD through and

including the FYE March 31, 2017, when the BOD declared and subsequently paid in excess of

$22.1 million in Patronage Dividends, which the Liquidating Trustee alleges was done in

violation of state law. More specifically, according to the Debtor’s books and records, the

Debtor paid Claimant a total of $233,697 in Patronage Dividends in 2017 ($22,973 related to

Klein Pharmacy and $210,724 related Jewel RX Pharmacy).

                 27.         On or about March 8, 2022, the Liquidating Trustee, on behalf of the

estate, filed a suit against the Debtor’s Board of Directors (the “Board Action”) 12 in connection

with the 2017 Patronage Dividend on the grounds that it was paid when the Debtor was insolvent




12
  See Complaint for Breach of Fiduciary Duties and Recovery of Wrongful Declaration of Dividends (the “BOD
Complaint”) filed by the Liquidating Trustee against Donald Arthur, Christopher Casey, Laurence F. Doud III,
Stephen Giroux, Sherwood Klein, Richard Klenk, Joe Lech, Boris Mantell, Joseph Scott Miskovsky, Garry Mrozek,
Paul Pagnotta, which is pending in the United States Bankrutpcy Court for the Western District of New York as 22-
AP-02073. A trial in the action is set for April 2024.

                                                       10
DOCS_DE:240640.3 75015/003
     Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                      Description: Main Document , Page 10 of 18
in violation of New York Debtor & Creditor Law (“NY DCL”) section 27113 and New York

Business Corporation Law (“NY BCL”) section 510(a).14

                  28.        The BOD decided, in its discretion, not to issue Patronage Dividends

following Fiscal Year ending March 31, 2017. Based on the same allegations that the Liquidating

Trustee has plead in the complaint in the Board Action, any Patronage Dividend declared after

FYE March 31, 2017 would have been prohibited by section which prohibits the payment of

dividends if the corporation is insolvent or would be made insolvent as a result of the paid

dividend. NY BCL § 510(a).

                  29.        As was fully detailed above, RDC was not required to pay Patronage

Dividends; Patronage Dividends were authorized by the BOD and at its discretion; and RDC’s

BOD’s decided, in its discretion, not to issue Patronage Dividends following Fiscal Year ending

March 31, 2017; and no Patronage Dividends are owing to Claimant. As any claim for Patronage

Dividends is unenforceable under the clear language of the Offering Statement and the

Subscription Agreement, any portion of the Claim that is a Dividend Claim should be disallowed

pursuant to Bankruptcy Code section 502(b)(1).

C.       The Stock Claim (if any) should be reclassified
         as a Class 3 Interest pursuant to the terms of the Plan.

                  30.        It is unclear whether the Claim includes a Stock Claim (i.e., a portion of

the total claim that is allocated to the value or purchase price of its RDC Stock). To the extent it

does, however, any such Stock Claim should be reclassified as a Class 3 Interest that will receive



13
   Section 271(1) provides, “A person is insolvent when the present fair salable value of his assets is less than the
amount that will be required to pay his probable liability on his existing debts as they become absolute and
matured.” NY DCL § 271(1).
14
   Section 510(a) provides, “A corporation may declare and pay dividends or make other distributions in cash or its
bonds or its property, including the shares or bonds of other corporations, on its outstanding shares, except when
currently the corporation is insolvent or would thereby be made insolvent, or when the declaration, payment or
distribution would be contrary to any restrictions contained in the certificate of incorporation.” NY BCL § 510(a).

                                                         11
DOCS_DE:240640.3 75015/003
     Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                      Description: Main Document , Page 11 of 18
no distribution under the Plan, instead of a Class 2 General Unsecured Claim, which will share

pro rata with other general unsecured claims, including trade and tort claims.

                 31.         Pursuant to the Plan, Holders of Class 3 Interests in the Debtor are

subordinated to Holders of Class 2 General Unsecured Claims. The Plan defines an “Interest” as

“the interest of any holder of an equity security, within the meaning of sections 101(16) and (17)

of the Bankruptcy Code, represented by any issued and outstanding shares of common or

preferred stock or other instrument evidencing a present ownership or membership interest in the

Debtor, or any membership interest in the Debtor, whether or not transferable, or any option,

warrant, or right, contractual or otherwise, to acquire any such interest, including a partnership,

limited liability company or similar interest in the Debtor.” (Plan § 1.45). Any portion of the

Claim that seeks to recover the value of the Claimant’s RDC Stock, is, therefore, an Interest

under the Plan.

                 32.         More specifically, the Plan of Liquidation classifies the Claims against the

Debtor into three Classes: Class 1 Unsecured Priority Claims; Class 2 General Unsecured Claims

and Class 3 Interests. (Plan § 3). The Plan of Liquidation further provides that (i) Holders of

Allowed Class 2 Unsecured Claims will receive a pro rata share of the RDC’s Liquidating

Trust’s assets; (ii) Holders of Class 3 Interests will not receive any Distribution on account of

such Interest unless all holders of Allowed Class 2 Claims are paid in full, and (iii) “In light of

the magnitude of the Class 2 Unsecured Claims, it is unlikely that holders of Class 3 Interests

will receive any Distributions in this Chapter 11 Case.” (Id. §§ 3.2.2-3.2.3.). See also Norwest

Bank Worthington v. Ahlers, 485 U.S. 197, 202 (1988) (“[T]he absolute priority rule provides

that a dissenting class of unsecured creditors must be provided for in full before any junior class

can receive or retain any property [under a reorganization] plan.”).



                                                      12
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 12 of 18
                 33.         Accordingly, the Stock Claim (if any) should be reclassified as a Class 3

Interest pursuant to the Plan.

D.      The Bad Faith Claim (if any) should be disallowed.

                 34.         As was noted above, it is unclear whether the Claim includes a Bad Faith

Claim. Based on the Department of Justice press release attached to the Claim, however, the

Liquidating Trustee believes that it the Claimant may allege such claims. To the extent it does,

any such Bad Faith Claim should be disallowed.

                 35.         This issue has already arisen and been determined by this Court in

connection with the claim of one Shareholder Pharmacy Drug Mart Solutions, LLC (dba Quality

RX Pharmacy) (“Drug Mart”). On June 17, 2020, Drug Mart filed a Motion for Relief from Stay

[Docket 411] (the “Stay Motion”) pursuant to which it sought relief from the automatic stay to

assert counterclaims against RDC in a state court Collections Action for fraud, breach of

fiduciary duty and breach of contract. More specifically, Drug Mart contended, “Debtor owed

and owes a fiduciary duty to its shareholder members, which it violated by maintaining, at all

relevant times, that it was in compliance with state and federal laws, rules and regulations, while

it, and its CEO and COO were being investigated for, and ultimately charged with a number of

crimes, including unlawful distribution of narcotics (e.g. drug trafficking), and conspiracy to

defraud the Drug Enforcement Agency. Debtor, through its wrongful and criminal acts, severely

impaired and disrupted Movants' businesses, which Debtor knew were reliant upon it for

pharmaceuticals.” (Stay Motion at 6.)

                 36.         This Court denied the Stay Motion on the grounds that “the necessary

element of mutuality of claims is not present.” In re Rochester Drug Coop., Inc., 2020 Bankr.

LEXIS 1935 (Bankr. W.D. N.Y. July 22, 2020) (“RDC I”). The Court further found: (1) the



                                                      13
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 13 of 18
Claimants stand in “different rights and capacities vis a vis the debtor,” and (2) the counterclaims

that the Claimants sought to bring against RDC in the Collections Action “are derivative claims

that belong to the estate.” Id. at *7-*8. The Bankruptcy Court explained, “[a]ny claims for

breach of fiduciary duty or mismanagement against the Debtor or its management are property of

the Estate, to be pursued by the Committee on behalf of all unsecured creditors—if at all. To the

extent Mead Square has claims that are not derivative, those claims can be litigated in this

Court.” Id.

                 37.         The Bankruptcy Court addressed this issue again in In re Rochester Drug

Coop., Inc., 620 B.R. 699 (Bankr. W.D.N.Y. 2020) (“RDC II”). In that case, RDC sued Echo

Drugs in state court to recover a pre-petition receivable. See RDC II, 620 B.R. at 702. Echo

Drugs filed a motion for relief from stay in the Bankruptcy Court so that it could assert

counterclaims against RDC. This Court noted:

          Echo like Mead Square, also seeks to assert a counterclaim for unpaid “shareholder
          patronage dividends” that Echo (and Mead Square) would have received, but for
          alleged misconduct and misrepresentations by the Debtor’s management. Echo has
          been careful to avoid being too forthcoming about its legal theory in pursuing
          recovery of the unpaid “shareholder patronage dividends,” but there is little doubt
          that it is based on alleged misrepresentations made by the Debtor’s management to
          Echo and other shareholder-purchasers of products from the Debtor.

Id. at 703. As it had in RDC I, this Court held that the claims were derivative and belonged to the

estate:

          Here, Echo appears to tip-toe around describing its proposed counterclaim as
          arising out of a claim of corporate mismanagement or a breach of fiduciary by the
          Debtor to its shareholders. Instead, Echo asserts that “the debtors [sic] own sales
          manager indicates how the shareholders were intentionally kept in the dark about
          if and when payments would be forthcoming.” (ECF No. 772 ¶ 10 (emphasis
          added)). Despite Echo’s best efforts to mask the basis for its proposed setoff
          counterclaim for unpaid “shareholder patronage dividends,” it is clear that Echo’s
          claim (as a shareholder) is derivative in nature. Such a claim belongs to the estate
          and is, therefore, not Echo’s claim to advance.



                                                     14
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 14 of 18
Id. at 706. With respect to whether an individual (i.e., not derivative claim) could be set off against
the trade receivable, the Court held:

         Echo has failed to show that it has a mutual claim to setoff as regards the
         “shareholder patronage dividends.” Echo has made no effort to demonstrate that
         the unpaid “shareholder patronage dividend,” that Echo claims is owed by the
         Debtor, and the debt Echo owes to the Debtor for goods Echo failed to pay for, are
         “mutual debts [that] are due to and from the same person in the same capacity.”

Id. at 706 (citation omitted).15

                  38.        As was noted above, the Liquidating Trustee has filed an action on behalf

of the estate against members of the Debtor’s BOD for breach of fiduciary duty and wrongful

declaration of over $22 million in Patronage Dividends related to Fiscal Year ended March 31,

2017.

                  39.        As this Court has already decided in RDC I and RDC II, the Bad Faith

Claims belong to the estate to be pursued for the benefit of all creditors, and the Liquidating

Trustee is actively pursuing those claims. Accordingly, any portion of the Claim that is a Bad

Faith Claim should be disallowed.

E.       Any portion of the Claim that is allowed as General
         Unsecured Claim should be subordinated to the Allowed
         Claims of Class 2 General Unsecured Creditors pursuant to
         Bankruptcy Code section 510(b).

                  40.        The Claim should be subordinated to the claims of Holders of Allowed

Class 2 General Unsecured Claims pursuant to Bankruptcy Code section 510(b), which provides:

                  For the purpose of distribution under this title, a claim . . . for
                  damages arising from the purchase or sale of such a security . . .
                  shall be subordinated to all claims or interests that are senior to or
                  equal the claim or interest represented by such security, except that

15
  To the extent the Claimant asserts a “right of setoff” against the Prepetition Receivable, the Court should find as it
did in both RDC I and RDC II that no such right of setoff exists. The debts are not due to and from the same person
in the same capacity. The debt that Claimant owed to RDC was a trade debt that it owed as a customer that
purchased products from RDC. The debt that RDC allegedly owes to the Claimant for an undeclared Patronage
Dividend or Stock is based on its status as a shareholder in RDC. Accordingly, the Claimant cannot establish
mutuality.

                                                          15
DOCS_DE:240640.3 75015/003
     Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                      Description: Main Document , Page 15 of 18
                 if such security is common stock, such claim has the same priority
                 as common stock.

    11 U.S.C. § 510(b).

                 41.         Section 510(b) “safeguards the absolute priority rule, a bedrock principle

of bankruptcy law, under which creditors are entitled to be paid ahead of shareholders in the

distribution of corporate assets. . . . To that end, we construe section 510(b) broadly.” Adler v.

Lehman Bros. Holdings (In re Lehman Bros. Holdings), 855 F.3d 459, 470-71 (2d Cir. 2017).

Section 510(b) “prevents disappointed shareholders from recovering their investment by

asserting claims for damages on parity with general unsecured creditors.” In re: ALTA+CAST,

LLC, 301 B.R. 150, 154 (Bankr. D. Del. 2003) (breach of agreement to repurchase stock subject

to mandatory subordination). See also 4 Collier on Bankruptcy P 510.04 (16th ed.) (“The clear

mandate of section 510(b) is that shareholder claimants will not be permitted to elevate their

interests from the level of equity to general claims.”).

                 42.         The form in which the equity interest is held is “ultimately irrelevant. So

long as the claimant's interest enabled him to participate in the success of the enterprise and the

distribution of profits, the claim will be subordinated pursuant to section 510(b).” In re

WorldCom, Inc., 2006 Bankr. LEXIS 5129, at *15 (Bankr. S.D.N.Y. Dec. 21, 2006). If a claim

falls within Section 510(b), subordination is mandatory. SeaQuest Diving LP v. S & J Diving Inc.

(In re SeaQuest Diving LP), 579 F.3d 411, 417 (5th Cir. 2009).

                 43.         A claim is subject to subordination pursuant to section 510(b) if: (i) the

claimant owns a security; (ii) the claimant acquired the security by means of a purchase or sale,

and (iii) the claimant's damages arose from the purchase or sale of the security or the rescission

of such a purchase or sale. In re Lehman Bros. Holdings Inc., 855 F.3d at 472-78.




                                                      16
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 16 of 18
                 44.         Any Claim related to a Patronage Dividend meets this test. (i) Claimant

owns a security (2 shares of the Debtor’s common stock); (ii) it acquired the security by virtue of

a purchase; and (iii) its damages (alleged unpaid Patronage Dividends) arose from the purchase

of its stock. Accordingly any Claim related to as Patronage Dividend (if any) that is Allowed

should be subordinated to the Claims of other Class 2 General Unsecured Creditors. See e.g.,

French v. Linn Energy, L.L.C. (In re Linn Energy, LLC), 936 F.3d 334, 338 (5th Cir. 2019)

(“[P]ayments owed to a shareholder by a bankrupt debtor, which are not quite dividends but

which certainly look a lot like dividends, should be treated like the equity interests of a

shareholder and subordinated to claims by creditors of the debtor.”).

                                    RESERVATION OF RIGHTS

                 45.         This Objection is limited to the grounds stated herein. Accordingly, it is

without prejudice to the rights of the Liquidating Trustee or any other party in interest to object to

the Claim (to the extent not disallowed and expunged pursuant to this Objection) on any grounds

whatsoever, and the Liquidating Trustee expressly reserves all further substantive or procedural

objections it may have.

                                                   NOTICE

                 46.         Pursuant to this Court’s Administrative Order dated December 21, 2020,

the Objection will be served and electronically filed at least 30 days prior to the return date and

time, and service on the Claimant holding the Claim will comply with Fed. R. Bankr. P. 7004.

                 47.         In addition, the Liquidating Trustee will provide notice of this Objection

to: (a) the Office of the United States Trustee, 100 State Street, Room 6090, Rochester, New

York, Attn: Kathleen Dunivin Schmitt; (b) counsel to RDC; (c) the twenty largest unsecured




                                                      17
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 17 of 18
creditors; (d) Bankruptcy Management Solutions, Inc. d/b/a Stretto, and (e) all parties that have

filed a request to receive service of court filings pursuant to Bankruptcy Rule 2002.

        WHEREFORE, for the reasons stated in the Objection, the Liquidating Trustee

respectfully requests that the Court sustain the Objection, disallow and/or reclassify the Claim in

accordance with the proposed order attached hereto as Exhibit B and grant such other relief as

the Court deems just and proper.



Dated: September 21, 2022                     PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ Ilan D. Scharf
                                              Ilan D. Scharf, Esq.
                                              Jason S. Pomerantz, Esq.
                                              Judith Elkin, Esq.
                                              780 Third Avenue, 34th Floor
                                              New York, New York 10017
                                              Telephone: (212) 561-7700
                                              Facsimile: (212) 561-7777

                                              Counsel to the RDC Liquidating Trust




                                                18
DOCS_DE:240640.3 75015/003
  Case 2-20-20230-PRW, Doc 1651, Filed 09/21/22, Entered 09/21/22 15:51:50,
                   Description: Main Document , Page 18 of 18
